                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

GEORGE E. KERSEY,                                  )
           Plaintiff,                              )
                                                   )
                v.                                 )         C.A. No. 19-11932-NMG
                                                   )
AVERY DENNISON CORPORATION,                        )
         Defendant.                                )

                                    PROCEDURAL ORDER

        Plaintiff has filed a self-prepared complaint, but has not paid the $350.00 filing fee and
the $50.00 administrative fee, see 28 U.S.C. § 1914(a) ($350.00 filing fee for all non-habeas civil
actions), or filed a motion for leave to proceed without prepayment of the filing fee, see 28
U.S.C. § 1915 (proceedings in forma pauperis).

        Accordingly, plaintiff must either (1) pay the $400.00 filing and administrative fees; or
(2) move for leave to proceed without prepayment of the filing fee. Failure of plaintiff to comply
with this directive by Tuesday, October 15, 2019 may result in the dismissal of this action.

        If plaintiff elects to seek in forma pauperis status, plaintiff must submit an affidavit that
includes a statement of all plaintiff’s assets. See 28 U.S.C. § 1915(a)(1). For the convenience of
litigants, this Court provides a form application to seek leave to proceed in forma pauperis. The
Clerk shall provide plaintiff with an Application to Proceed in District Court Without Prepaying
Fees or Costs.

       SO ORDERED.



   9/23/2019                                /s/ Nathaniel M. Gorton
DATE                                        UNITED STATES DISTRICT JUDGE
